                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CASE NO. 5:06-CR-00022-RLV-CH-11

UNITED STATES OF AMERICA, )
                              )
            Plaintiff,        )
                              )
      v.                      )              ORDER
                              )
PAUL V. V. WITHERSPOON,       )
                              )
            Defendant.        )
______________________________)

       THIS MATTER is before the Court on Defendant Paul Vernon Vannoy Witherspoon’s

Motion to Withdraw Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(2) and

counsel’s Motion to Withdraw as Counsel of Record, filed July 16, 2012. (Doc. 1015.)

       In September 2011, Defendant Witherspoon moved pro se for the assistance of counsel in

determining his eligibility for a reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2). (Docs.

926, 929.) Following the U.S. Probation Office’s completion of its Supplement to the

Presentence Report Pursuant to Crack Cocaine Guideline Amendment 750 (Doc. 981), the

Government consented to a reduction of Defendant Witherspoon’s sentence to the applicable

statutory minimum term of imprisonment (Doc. 990). The Court thereafter amended Defendant’s

sentence to a term of 120 months for each count, to be served concurrently. (Doc. 991.)

       On July 15, 2012, counsel for Defendant filed a Motion for Reduction of Sentence

Pursuant to 18 U.S.C. § 3582(c)(2). (Doc. 1011.) The following day, counsel moved to withdraw

this Motion after realizing that the Court had already granted a reduction pursuant to

Amendment 750. (Doc. 1015.) Counsel further moved to withdraw as counsel of record.

       IT IS, THEREFORE, ORDERED that Defendant’s and counsel’s Motions to

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Withdraw (Doc. 1015) be GRANTED. The Clerk is directed to terminate Defendant’s

successive Motion to Reduce Sentence (Doc. 1011) and to terminate Ms. Ross Richardson as

counsel for Defendant Witherspoon in this case.

                                                  Signed: August 13, 2012




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